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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,

 9                              Plaintiff,                CASE NO. 19-38-JLR

10           v.                                           ORDER REVOKING
                                                          APPEARANCE BOND AND
11   BRIAN DIAZ,                                          DETAINING DEFENDANT

12                              Defendant.

13          The Court has conducted an evidentiary hearing regarding allegations defendant violated

14   his condition of release and concludes there are no conditions which the defendant can meet

15   which would reasonably assure the defendant’s appearance as required or the safety of any other

16   person and the community.

17                       FINDINGS FOR REVOCATION AND DETENTION

18          Following defendant’s release, the United States Pretrial and Probation Office filed a

19   series of petitions alleging defendant violated conditions of release. On September 14, 2020, the

20   Court conducted an evidentiary hearing and found defendant had violated his conditions of

21   release by using methamphetamine, failing to appear for drug testing on August 17, 2020, failing

22   to abide by COVID-19 restrictions, possessing a firearm when arrested on August 24, 2020, and

23   possessing two internet capable smart phones when arrested.



     ORDER REVOKING APPEARANCE BOND
     AND DETAINING DEFENDANT - 1
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 1          Although defendant requested that he be release pending his sentencing hearing which is

 2   set for September 15, 2020, the Court finds the number of violations and the severity of the

 3   violations culminating with holding a gun when confronted by the arresting U.S. Marshals call

 4   for detention.

 5          It is therefore ORDERED:

 6          (1)       Defendant shall be detained pending trial and committed to the custody of the

 7   Attorney General for confinement in a correctional facility separate, to the extent practicable,

 8   from persons awaiting or serving sentences, or being held in custody pending appeal;

 9          (2)       Defendant shall be afforded reasonable opportunity for private consultation with

10   counsel;

11          (3)       On order of a court of the United States or on request of an attorney for the

12   Government, the person in charge of the correctional facility in which Defendant is confined

13   shall deliver the defendant to a United States Marshal for the purpose of an appearance in

14   connection with a court proceeding; and

15          (4)       The Clerk shall provide copies of this order to all counsel, the United States

16   Marshal, and to the United States Probation and Pretrial Services Officer.

17          DATED this 14th day of September, 2020.

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                                                            BRIAN A. TSUCHIDA
20                                                          Chief United States Magistrate Judge

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     ORDER REVOKING APPEARANCE BOND
     AND DETAINING DEFENDANT - 2
